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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

Luis Romano                                     §
                                                §
                  Plaintiffs,                   §
                                                §
                                                §
v.                                              §       CIVIL ACTION NO. ___________
                                                §
Diligent Health, LLC d/b/a Diligent             §
Delivery Systems                                §
                                                §       JURY TRIAL DEMANDED
                  Defendant                     §
                                                §


                             PLAINTIFF’S ORIGINAL COMPLAINT


         Plaintiff, Luis Romano (“Plaintiffs”) by and through his undersigned counsel, hereby

brings this action against Defendant, Diligent Health, LLC d/b/a Diligent Delivery System

(“Defendant” and “Diligent Health”), pursuant to the Fair Labor Standards Act of 1938 (FLSA),

52 Stat. 1060, as amended, 29 U.S.C. §201 et seq (1994 ed. And Supp. III) ("FLSA").

                                         I.         PARTIES

1. Plaintiff resides in Harris County, Texas.

2. From 2015 to April 10, 2018 Defendant employed Plaintiff as a delivery driver.

3. Plaintiff, Luis Romano, was an "employee" of Defendant, as that term is defined by the FLSA.

4. During his employment, Defendant paid Plaintiff a day rate for driving his assigned routes and

     additional fees for extra trips.

5. Plaintiffs primary duties were to pick up medical specimens and delivering them to one or

     more testing facilities. Defendant also assigned Plaintiff to pick up and transport medicine and

     medical equipment between medical facilities.

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6. Plaintiffs hours of work varied based on the number of deliveries Defendant assigned each

   week.

7. Defendant, Diligent Health, LLC d/b/a Diligent Delivery System, is a professional association

   formed and existing under the laws of the State of Texas and which contracts with a Houston

   hospital to provide delivery services in Harris County, Texas, and is subject to the provisions

   of the FLSA because at all relevant times it engaged in interstate commerce or was part of an

   enterprise engaged in interstate commerce as defined by 29 U.S.C. §§203(r) and (s). .

   Defendant may be served by serving its registered agent C T Corporation System at 1999 Bryan

   St., Suite 900, Dallas, Texas 75201, or at any other place it may be found.

8. At all times material to this complaint, Defendant had employees subject to the provisions of

   29 U.S.C. § 206 in the facility where Plaintiff was employed.

                             II.   JURISDICTION AND VENUE
9. This Court has jurisdiction under the FLSA pursuant to 28 U.S.C. §1331 and 29 U.S.C.

   §216(b).

10. Venue is proper pursuant to 28 U.S.C. § 1391(b), because Defendant and Plaintiff transacted

   business within this judicial district and the events underlying this complaint occurred within

   this judicial district.

11. At all times material to this complaint, Defendant employed two or more employees and had

   an annual dollar volume of sales or business done of at least $500,000.00.

12. At all times material to this complaint, Defendant was an enterprise engaged in interstate

   commerce, operating a business engaged in commerce or in the production of goods for

   commerce as defined by§ 3(r) and 3(s) of the Act, 29 U.S.C. §§ 203(r)-(s).




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                             III.    UNPAID OVERTIME WAGES

13. Between April 10, 2015 to April 10, 2018 Plaintiff worked numerous workweeks in excess of

   40 hours per week.

14. Defendant misclassified Plaintiff as an independent contractor.

15. Defendant did not maintain time records for the hours worked by the Plaintiff each week.

16. During the weeks of employment where Plaintiff worked more than 40 hours, Defendant failed

   to pay Plaintiff time and one-half his regular rate of pay as required by the FLSA.

17. At all times relevant to this case, the Defendant had knowledge of Plaintiffs regular and

   overtime work. Defendant gave Plaintiff fixed delivery routes that set schedules that required

   him to work over 40 hours a week. Defendant kept track of Plaintiff’s delivery throughout the

   work day in order to make sure he made timely pick-ups and drop-offs.

18. Defendant' actions were willful and in blatant disregard for Plaintiffs federally protected rights.

19. As a result of Defendant's unlawful conduct, Plaintiff is entitled to actual and compensatory

   damages, including the amount of overtime which was not paid, and which should have been

   paid at the proper overtime premium.

20. Plaintiff further seeks liquidated damages as Defendant' conduct is in violation of Section 7 of

   the FLSA, 29 U.S.C. § 207.

21. Plaintiff also seeks compensation of recoverable expenses, costs of court, and reasonable and

   necessary attorney's fees pursuant to 29 U.S.C. §216(b).

                                          IV.    PRAYER

   WHEREFORE, Plaintiff, Luis Romano, prays that the Court assume jurisdiction of this cause

   and that Defendant be cited to appear. Plaintiff prays that the Court award the following relief,

   under law and equity, as applicable:


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       a.     Judgment against Defendant for all unpaid overtime wages found to be due and

              owing;

       b.     Judgment against Defendant, that it’s violations of the FLSA was willful;

       c.     Judgment against Defendant for an amount equal to the unpaid overtime

              compensation as liquidated damages;

       d.     If liquidated damages are not awarded, an award of pre-judgment interest;

       e.     Post-judgment interest at the applicable rate;

       f.     All costs, recoverable expenses and attorney's fees incurred in prosecuting these

              claims;

       g.     Leave to amend to add claims under applicable state laws, if necessary; and,

       h.     For such further relief as the Court deems just and equitable to which Plaintiff

              is entitled.

                              V.      JURY TRIAL DEMAND


Plaintiff, Luis Romano, hereby demands a trial by jury on all claims he has asserted in this

Complaint.



                                            Respectfully submitted,

                                            TRAN LAW FIRM


                                            /S/Trang Q. Tran
                                            Trang Q. Tran
                                            Federal I.D: 20361
                                            Texas Bar No. 00795787
                                            2537 South Gessner Road, Suite 104
                                            Houston, Texas 77063
                                            Tel: (713) 223 – 8855
                                            Fax: (713) 623 – 6399

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                              ttran@tranlawllp.com
                              service@tranlawllp.com

                              ATTORNEY FOR PLAINTIFF




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